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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


MICHAEL GONIDAKIS, et al.,                    :
                                              :       Case No. 2:22-CV-773
        Plaintiffs,                           :
                                              :
v.                                            :
                                              :       Chief Judge Algenon Marbley
FRANK LAROSE,                                 :
                                              :
        Defendant.                            :

______________________________________________________________________________

     DEFENDANT OHIO SECRETARY OF STATE FRANK LAROSE’S RESPONSE TO
               MOTION TO ABSTAIN AND STAY ECF Doc. No. 59


        Ohio Secretary of State Frank LaRose agrees with the Intervenor-Plaintiffs Bria Bennett,

Regina C. Adams, Kathleen Brinkman, Martha Clark, Susanne L. Dyke, Meryl Neiman, Holly

Oyster, Constance Rubin, and Everett Totty (“Bennett Petitioners”) that the issues presented by

this case can be and should be resolved in the cases currently pending before the Ohio Supreme

Court, provided that resolution comes quickly. See ECF Doc. No. 59; and see League of Women

Voters, et al. v. Ohio Redistricting Commission, et al., Case No. 2021-1193; Bennett, et al. v. Ohio

Redistricting Commission, et al., Case No. 2021-1198; Ohio Organizing Collaborative, et al. v.

Ohio Redistricting Commission, et al., Case No. 2021-1210. Thus, Secretary does not oppose the

Bennett Petitioners’ motion to stay this case to allow the Supreme Court cases (which are now

decisional) to proceed to resolution.

        But like Ohio’s 88 county boards of elections, Ohio voters, and candidates, he urgently

needs a state legislative and a congressional district plan to implement if party primaries for those

races are to be held with the May 3, 2022 primary election. So, like the Bennett Petitioners he
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does not object to leaving open all avenues of obtaining a valid General Assembly district plan

and agrees that this court should retain jurisdiction over this matter should the Ohio Supreme Court

processes not timely yield one. For the foregoing reasons, Secretary of State LaRose does not

object to Plaintiffs’ motion to stay and request that this Court retain jurisdiction over this matter.

                                               Respectfully submitted,

                                               OHIO ATTORNEY GENERAL

                                               /s/ Bridget C. Coontz
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                                               Counsel for Defendant Frank LaRose


                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 11, 2022, the foregoing was filed with the Court. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties for whom

counsel has entered an appearance. Parties may access this filing through the Court’s system.



                                               /s/ Bridget C. Coontz
                                               BRIDGET C. COONTZ (0072919)
                                               Assistant Attorney General
